      Case 1:23-cv-11195-SHS         Document 136           Filed 06/06/24     Page 1 of 3

                                           707 WILSHIRE BOULEVARD      MORRISON & FOERSTER LLP

                                           SUITE 6000                  AUSTIN, BEIJING, BERLIN, BOSTON,
                                                                       BRUSSELS, DENVER, HONG KONG,
                                           LOS ANGELES                 LONDON, LOS ANGELES, MIAMI,
                                           CALIFORNIA 90017-3543       NEW YORK, PALO ALTO, SAN DIE GO,
                                                                       SAN FRANCISCO, SHANGHAI, SINGAPORE,
                                                                       TOKYO, WASHINGTON, D.C.
                                           TELEPHONE: 213.892.5200
                                           FACSIMILE: 213.892.5454

                                           WWW.MOFO.COM




June 5, 2024                                                           Writer’s Direct Contact
                                                                       +1 (213) 892-5656
                                                                       ABennett@mofo.com



Via ECF

Hon. Sidney H. Stein
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007

Re:    The New York Times Company v. Microsoft Corporation, et al.,
       Case No.: 23-cv-11195-SHS: Discovery Dispute Regarding RFPs


Dear Honorable Judge Stein:

Since Plaintiff filed its letter brief, the parties have reached agreement on two of the three
issues raised. Ex. A at 1. Those categories are discovery into the model training process
(Plaintiff’s Issue No. 2) and discovery about specific products (Plaintiff’s Issue No. 3). See
Mot. at 2-3 (discussing Issue Nos. 2 and 3); Ex. A at 1 (reaching agreement on those issues).
The sole remaining issue for the Court is whether The Times is entitled to certain discovery
related to three models that are not used for ChatGPT. It isn‘t.

In the spirit of cooperation, OpenAI has agreed to make available for inspection the training
data for the text models identified in the complaint that are or have been made accessible
through ChatGPT (GPT 3.5, GPT-3.5 Turbo, GPT-4, and GPT-4 Turbo), and the training
data for two text models cited in the complaint that were never used to power ChatGPT
(GPT-2 and GPT-3). Ex. A at 3. But, as explained below, models not used for ChatGPT
have limited relevance to the issues in this case, and producing anything more than the
training data that OpenAI has already agreed to make available for inspection would be
disproportionate to the needs of the case. Fed. R. Civ. P 26. This is particularly true given
that the models date as far back as 2018, and many of the employees who worked on them
are no longer at the company.

Document Discovery Into GPT-2 & GPT-3 Is Disproportionate To The Needs Of the
Case.

GPT-2 and GPT-3 were developed for research purposes in 2018 and 2019, respectively, and
have not been used for ChatGPT. Given The Times’s emphasis in its complaint on the “large
     Case 1:23-cv-11195-SHS                Document 136           Filed 06/06/24         Page 2 of 3




June 5, 2024
Page Two



scale commercial exploitation of Times content” (ECF No. 1 ¶ 97) 1, OpenAI has to date
focused its discovery efforts on the text models at issue in the complaint that were used for
ChatGPT: GPT 3.5, GPT-3.5 Turbo, GPT-4, and GPT-4 Turbo. With the exception of GPT-
4 Turbo (which was developed by further training on GPT-4), each of these models was
trained from scratch,2 meaning each was developed independently from the others and
trained on distinct datasets. As a result, each model requires individualized, non-cumulative
work to prepare its training data for inspection. For only the text models used for ChatGPT
on or before the date the complaint was filed, that preparation has resulted in the collection
of enough data to fill hundreds of hard drives—and required hundreds of hours of OpenAI
employees’ time.

Given the significant burden associated with making the training data for any model
available for inspection and the limited relevance to The Times’s claims of models not used
for ChatGPT, OpenAI continues to believe that discovery associated with GPT-2 and GPT-3
is not proportional to the needs of the case. Fed. R. Civ. P. 26. To resolve this dispute,
however, OpenAI has agreed to expand the scope of discovery to include inspection of the
training data used to train GPT-2 and GPT-3. But the additional document discovery
Plaintiffs seek has crossed the line of proportionality. Against the at-best limited relevance
of these earlier models, Plaintiff’s requests seeking, for example, “alternatives to using
copyrighted content to train the Text Generation AI Models without compensation” cannot
be justified. ECF No. 128-2 (RFP No.6). If upon inspection of the training datasets for
GPT-2 and GPT-3, The Times identifies relevant information that it believes can justify
further discovery into these models, OpenAI is willing to meet and confer about the scope of
such discovery. But for the reasons given above, The Times is not entitled to such
information without such a showing.

Discovery Into GPT Is Disproportionate to the Needs of the Case.


1
  See also ECF No. 1. ¶¶ 49-50 (“commercial purposes”), ¶ 63 (“commercial offerings”), ¶ 64 (“commercial
success”), ¶ 65 (“OpenAI’s widespread infringement commercial exploitation of Times Works”), id. (“design,
development and commercialization of OpenAI’s GPT-based products”; “widespread reproduction,
distribution, and commercial use of Times Works”; “monetized the reproduction, distribution and commercial
use of Times Works”), ¶ 74 (“creation and commercialization of the GPT models”; “massive copyright
infringement, commercial exploitation, and misappropriation of The Times’s intellectual property”), ¶ 102
(Defendants’ commercial applications”); ¶ 156 (emphasizing “commercial uses” and “commercial purposes”).
2
  See public statements at https://openai.com/index/approach-to-data-and-ai/. OpenAI is also prepared to
submit a declaration from Nick Ryder, OpenAI’s head of pre-training, confirming that the relevant models are
trained from scratch, if such a declaration would be helpful to the Court. The Times challenges this assertion
by citing a post (from an anonymous user) to a third-party internet forum. However, the post does not support
The Times’s position. At most, the post suggests that some of the GPT-3.5 training data may overlap with the
training data from other models—an issue not in dispute and not relevant, since OpenAI is making available for
inspection all the training data in its possession for any relevant model.
     Case 1:23-cv-11195-SHS            Document 136        Filed 06/06/24       Page 3 of 3




June 5, 2024
Page Three



The Times also seeks discovery into OpenAI’s GPT model. GPT was the first model
released by OpenAI; it was released in 2018. Discovery regarding the GPT model suffers
from the same proportionality concerns as GPT-2 and GPT-3, but there is even less support
for relevance to the issues in this case. Plaintiff asserts (without evidence) in its letter motion
that GPT is among the models alleged to have been trained on Times content. But The
Times readily acknowledges that, like GPT-2, OpenAI released GPT on an open-source basis
(ECF No. 1 ¶ 58). Unlike GPT-2, however, Plaintiff’s complaint does not provide any
reason to think that GPT trained on Times content. Cf. id. ¶¶ 85-87; see also Alec Radford et
al., Improving Language Understanding by Generative Pre-Training at 4 (2018)
https://cdn.openai.com/research-covers/language-
unsupervised/language_understanding_paper.pdf (explaining that GPT was trained on “7,000
unique unpublished books”). Accordingly, even if models not used for ChatGPT are deemed
relevant to the issues in this case solely because they were allegedly trained on Times
content, GPT is not among them.

In conclusion, we respectfully request the Court deny The Times’s motion.

Sincerely,
/s/ Allyson R. Bennett
Allyson R. Bennett

Sincerely,
/s/ Michelle Ybarra
Michelle Ybarra
Keker, Van Nest & Peters LLP


Sincerely,
/s/ Andy Gass
Andy Gass
Latham & Watkins LLP


* The parties use electronic signatures with consent in accordance with Rule 8.5(b) of the
Court’s ECF Rules.
